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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA,                                   CIVIL ACTION
        Plaintiff

    VERSUS                                                      NO. 12-1924

    CITY OF NEW ORLEANS,                                        SECTION “E”
         Defendant


                                          ORDER

          On August 9, 2013, the Court entered an Order with respect to the relationship

among the United States of America (“United States”), the City of New Orleans (“City”),

and the Monitoring Team.1 The Court attached the terms governing the relationship to

the Order as Exhibit A (the “Monitoring Agreement”).2 The Monitoring Team consented

to be bound by the terms of the Court’s Order, and the provisions found in the Monitoring

Agreement.3

          On August 4, 2017, the Court entered an Order modifying the August 9, 2013 Order

to extend the services of the Monitoring Team for an additional three years, from August

2017 through August 9, 2020.4 The Court’s August 4, 2017 Order (a) extended the term

of the initial order, (b) set forth updated hourly rates, and (c) set forth a new fee cap (not

including technical assistance).

          On April 30, 2021, the Court entered an Order extending the term set forth in

Section VI.A. of the Monitoring Agreement to May 31, 2021.5 On September 29, 2021, the




1   R. Doc. 294.
2   R. Doc. 294.1.
3   R. Doc. 295.
4   R. Doc. 529.
5   R. Doc. 615.

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Court again entered an Order extending the term set forth in Section VI.A of the

Monitoring Agreement until December 31, 2021.6

          This Order now further extends the term set forth in Section VI.A. of the

Monitoring Agreement to June 30, 2022. The Court recognizes and appreciates the

Monitoring Team’s agreement to maintain the rates set forth in the August 4, 2017 Order

through June 30, 2022 or until the City enters into the Sustainment Period contemplated

by the Consent Decree. For the avoidance of confusion, the Court notes that the fee cap

set forth in the August 4, 2017 Order has expired and is inapplicable to this Order.

          The City shall pay all outstanding invoices of the Monitoring Team within 30 days

of this Order.

          The Court will issue a separate order covering the two year sustainment period,

which order will set forth new rates and a new fee cap, if appropriate.

          New Orleans, Louisiana, this 3rd day of May, 2022.


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                                                    SUSIE MORGAN
                                             UNITED STATES DISTRICT JUDGE




6   R. Doc. 617.

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